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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS

_________________________________________
DR. SHIVA AYYADURAI,                      )
                          Plaintiff,                  )
                                                      )
             v.                                       ) Civ. No.
                                                      )
ROBERT F. KENNEDY, JR.,                               ) JURY TRIAL DEMANDED
                          Defendant.                  )
_________________________________________
        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiff Dr. Shiva Ayyadurai, through counsel, seeks judgment against

Robert F. Kennedy, Jr. for his defamation of the Plaintiff and Injunctive Relief, and

alleges as follows:

                                       Introduction

1.    For his entire life, Dr. Ayyadurai has been a pioneer and outspoken

champion in the field of natural medicine. His love of natural medicine began in

India, when as a five-year-old, he observed his grandmother, a farmer and healer in

the small village of Muhavur in South India, practice Siddha - India’s oldest

system of indigenous medicine that employed natural methods such as yoga,

combination of herbs and minerals, marma therapy (similar to acupuncture),

meditation, prayer, oils, and massage to heal and support local villagers. These

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early experiences inspired him to pursue the study of chemistry, biology, modern

systems science, information technology, and indigenous medicines towards one

day unraveling the science behind eastern and indigenous systems of natural

medicine.

2.    Dr. Ayyadurai went on to receive four degrees from MIT, and embarked on

a career aimed at gaining a better understanding of the effects of combinations of

molecular compounds, food, herbs, therapeutics, on diseases and bimolecular

functions, without the need for animal testing.

3.    His studies and research led him to realize the need for a personalized and

precision medicine; that mandating vaccines can do profound harm to the body,

given the unique nature of each of our biological systems. His stance against

mandated vaccines, and against “one-size-fits-all” medicine is a centerpiece of his

campaign for the Republican Party’s nomination to the United States Senate in

Massachusetts, while Joseph P. Kennedy III runs for the Democratic Party’s

nomination.

4.    Robert F. Kennedy, Jr. founded Children’s Health Defense. Mr. Kennedy

and Dr. Ayyadurai have a significant difference on the issue of medical freedom.

Mr. Kennedy has made it clear that he has “always been fiercely pro-vaccine” and

supports “policies that encourage full vaccination for all Americans.” In contrast,

Dr. Ayyadurai, as an expert on the immune system, believes that the government



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should not be involved in any manner in mandating any aspect of an individual’s

decision on, if and what vaccines, they should receive.

5.    On April 28, 2020, Mr. Kennedy posted an article on the Childrens Health

Defense website that contains at least eight verifiably false and defamatory

statements. Because of the damage the article caused – and will continue to cause –

to Dr. Ayyadurai, the plaintiff must now resort to this action.

                         JURISDICTION AND VENUE

6.    This Court’s jurisdiction pursuant to 28 U.S.C. § 1332 because Plaintiff Dr.

Ayyadurai is a resident of Massachusetts and Defendant Kennedy is a resident of

New York, and the amount in controversy exceeds $75,000.

7.    Venue is appropriate under 28 U.S.C. § 1391(b)(1),(2) because Dr.

Ayyadurai resides in the District, and the defamation at issue was intended to harm

Dr. Ayyadurai in this District and did so harm him.

                                     PARTIES

8.    Plaintiff Dr. Shiva Ayyadurai is a renowned scientist, engineer, inventor,

and entrepreneur. He is currently a candidate for United States Senate in

Massachusetts. His offices are located at 701 Concord Avenue, Cambridge, MA

02138.

9.    Defendant Robert F. Kennedy, founder and chairman of the board of the

Children’s Health Defense, is a resident of New York.



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                           FACTUAL BACKGROUND

          Dr. Ayyadurai has a long background in natural medicine

10.   Dr. Ayyadurai’s interest in the healing power of natural medicines began as

a boy. As a five-year-old, he observed his grandmother, a farmer and healer in the

small village of Muhavur in South India, practice Siddha - India’s oldest system of

indigenous medicine. Siddha employed natural methods such as yoga, combination

of herbs and minerals, marma therapy (similar to acupuncture), meditation, prayer,

oils, and massage to heal and support local villagers. These early experiences

inspired him to pursue the study of chemistry, biology, modern systems science,

information technology, and indigenous medicines, all aimed toward one day

unraveling the science behind eastern and indigenous systems of natural medicine.

11.   When he was 14 years old, Dr. Ayyadurai was accepted into a special

intensive summer program in computer science at the Courant Institute of

Mathematical Science at New York University (NYU) in 1978, where he learned

seven programming languages, graduating at the top of the class.

12.   In the fall of that year, given his interest in medicine, he was recruited as a

full-time Research Fellow at the University of Medicine and Dentistry of New

Jersey (UMDNJ) located in Newark, NJ – today, a part of Rutgers Medical School.

At UMDNJ, Dr. Ayyadurai had the opportunity to use his skills in mathematics

and computer science on at least two different projects at the medical school.



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13.   For one, he created a computer-based mathematical model of Sudden Infant

Death Syndrome (S.I.D.S.) to analyze sleep patterns of babies to predict the onset

of an apnea – the temporary cessation of breathing. His research resulted in him

presenting a scientific paper on the subject a few years later at a leading

international biomedical conference in Espoo, Finland.

14.   In another effort at UMDNJ, Dr. Ayyadurai wrote 50,000 lines of software

code to create the first electronic emulation of the entire interoffice mail system

(Inbox, Outbox, Folders, Address Book, Memo, Cc:, Bcc:, etc.) - which he named

“EMAIL,” to invent the world’s first email system, for which he was later awarded

the first United States copyright for “Email: Computer Program for Electronic Mail

System,” officially recognizing him as the inventor of email. At the time, copyright

was the only method to protect software inventions, since the U.S. Supreme Court

was not yet recognizing software as patentable.

15.   Dr. Ayyadurai went on to earn four degrees from MIT including his Ph.D. in

Biological Engineering from the Massachusetts Institute of Technology. His other

degrees include: a Bachelor of Science in Electrical Engineering and Computer

science, a Master of Science in Mechanical Engineering, and a Master of Science

in Visual Studies from the MIT Media Laboratory.

16.   Following his doctoral work in 2008, Dr. Ayyadurai returned to India on a

Fulbright Research Fellowship to uncover the scientific basis of eastern and



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indigenous systems of medicine such as Ayurveda, Traditional Chinese Medicine

(TCM), Siddha - as a commitment to his grandmother’s legacy. His research

resulted in a profound discovery of the engineering systems basis of eastern

systems of medicine, resulting in Systems Health®, a new educational program

that provides a scientific foundation for integrative medicine.

17.   Dr. Ayyadurai’s conviction that natural medicine is the key to good health

led to his starting three enterprises: Systems Health, LLC, CytoSolve, Inc., and the

International Center of Integrative Systems, a 501(c) not-for-profit corporation, all

of which are devoted to natural health and well-being by applying a whole systems

approach to biological systems.

18.   Systems Health, LLC, is an educational institute that provides training for

healthcare providers, across eastern and western traditions – MDs, surgeons,

nurses, chiropractors, acupuncturists, yoga teachers, etc. - committed to

understanding the body as a whole system, and the value of natural medicines.

19.   CytoSolve, Inc. creates mathematical models of various biological processes

to enable the understanding of the efficacy, toxicity, and risks of products, without

the need for animal testing.

20.   The International Center for Integrative Systems (“the Center”) is the creator

of the C.L.E.A.N. Food Certified seal, which labels and certifies products, using a

whole systems integrative approach, that require five criteria to be met: use organic



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ingredients, non-GMO ingredients, safety in production, high-bioavailability, and

nutrient density. The Center is also responsible for pioneering research that

exposed the deleterious effects of genetically engineered foods (GMOs).

21.   As a world-renowned systems scientist, Dr. Ayyadurai has started 11

companies across the fields of arts, artificial intelligence, integrative health,

medicine, and information technology. He is regularly invited to present

distinguished and keynote lectures on science, medicine, and information

technology across the world. EchoMail, Inc., for example, is a company that

emerged from his invention of automatic email categorization and routing

technologies, for managing high volumes of email in customer service.

22.   In 2012, Dr. Ayyadurai founded CytoSolve, Inc., a software company that

provides a computational systems biology platform for scalable integration of

molecular pathway models to enable predictive and quantitative understanding of

complex biomolecular processes and diseases to determine risk, toxicity, and

efficacy in the product development process. This allows supplements, herbs, and

foods to be analyzed for their effects on human molecules and cells without the

need for animal testing or human trials.

           Robert Kennedy, Jr.’s Defamation against Dr. Ayyadurai

23.   On April 28, 2020, Mr. Kennedy posted a blog post on the Children’s Health

Defense, https://childrenshealthdefense.org/news/critical-questions-for-dr-shiva-



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about-his-attempts-to-splinter-the-health-freedom-movement/ titled “Critical

Questions for Dr. Shiva About His Attempts to Splinter the Health Freedom

Movement,” attached with this Complaint as Exhibit A.

24.   In that post, Mr. Kennedy unleashed a stream of defamatory statements, all

provably false, intended to cause harm to Dr. Ayyadurai, and with devastating

results. The statements are described below.

      Defamatory Statement 1: “Shiva employs a full-time ‘Negative

      Research’ investigator, Jennifer Bennett, to excavate and invent

      defamatory gossip about Health Freedom Groups and their leaders in

      Massachusetts and nationally.”

25.   This is a factually false statement, intended to discredit Dr. Ayyadurai and

damaging him. Dr. Ayyadurai does not employ Jennifer Bennett. And since he

does not employ her, she could not be serving any purpose in her employment,

including to “excavate and invent defamatory gossip.”

      Defamatory Statement 2: “Shiva, the Vaccine Maker Shiva never mentions

      the fact that he is a vaccine maker.

26.   This is a factually false statement, intended to discredit Dr. Ayyadurai and

damaging him. Dr. Ayyadurai is not a vaccine maker. He has never made a

vaccine, nor, as explained further below, have any of his companies made a single

vaccine.



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      Defamatory Statement 3: “Shiva owns a pharmaceutical company,

      CytoSolve, that partners with vaccine and drugmakers to accelerate FDA

      approvals for vaccines and other pharmaceutical drugs.”

27.   This is a factually false statement, intended to discredit Dr. Ayyadurai,

damaging him and harming his company, CytoSolve. CytoSolve is not a

pharmaceutical company. CytSolve is not a vaccine maker. CytoSolve is a

software company that makes computer-based mathematical models of biological

mechanisms. CytoSolve has not partnered with a single vaccine manufacturer to

accelerate FDA approval of a vaccine, in any manner.

28.   CytoSolve licenses its mathematical models and processes to understand

biological mechanisms and does not make vaccines. CytoSolve has never

partnered, and is not partnering with, a single vaccine maker to create vaccines. In

fact, given Dr. Ayyadurai’s dedication to uncovering the power of natural

medicine, CytoSolve’s technologies are helping to determining the efficacy, risk

and toxicity of products – to eliminate the need for animal or human testing.

CytoSolve’s mathematical models have been used to uncover biological

mechanisms that have been published and cited in eminent peer-reviewed journals

such as Nature, CELL, and IEEE.

      Defamatory Statement #4: “His principal business partner is Pfizer, the

      world’s #4 vaccine maker…upon whose favor his financial success relies.”



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29.      This is a factually false statement, intended to discredit Dr. Ayyadurai,

causing him damage. Neither he nor CytoSolve have Pfizer as a principal business

partner. Rather, several years ago, several scientists in a newly-formed business

unit of Pfizer, dedicated to innovation, engaged CytoSolve to employ CytoSolve’s

mathematical models. The project ended mid-stream and was never completed, as

the key scientists left Pfizer. Because Pfizer is not a principal, or even any,

business partner, Dr. Ayyadurai’s financial success cannot rely on Pfizer’s favor.

         Defamatory Statement #5: “Shiva claims to have invented Email

         (Smithsonian says Shiva’s claim is untrue and a Federal court has agreed).

30.      The Smithsonian has never stated that Dr. Ayyadurai’s statement that he

invented email is untrue. In fact, what the Smithsonian said is “Exchanging

messages through computer systems, what most people call ‘email,’ predates the

work of Ayyadurai.” Dr. Ayyadurai has never claimed to be the inventor of

electronic messaging – the simple exchange of text messages through electrical and

electronic devices, but rather the inventor of email – the system as we know it

today. Further, no federal court has agreed that Dr. Ayyadurai’s claims are untrue.

In Ayyadurai v. Floor64 et al., 270 F.Supp.3d 343 (2017), U.S. District Court

Judge Dennis Saylor found that certain statements were matters of opinion. He did

not make any judgment on who invented email. Dr. Ayyadurai did, in fact, invent

email.



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      Defamatory Statement #6: “Shiva made his fortune running Email

      operations for President Bill and Hillary Clinton during the White House

      years.”

31.   This is a factually false statement, intended to discredit Dr. Ayyadurai,

harming him. As an MIT PhD Graduate Student in 1992-1993, Dr. Ayyadurai won

first place in an industry-wide contest sponsored by the National Institute of

Standards (NIST) and the Executive Office of the White House, to automatically

categorize email. He did not run the Clinton’s email operations. He did not make a

fortune from the Clinton White House. In fact, he did not receive a penny from the

Clintons or the Clinton White House. Because Dr. Ayyadurai is currently running

for the United States Senate against Mr. Kennedy’s nephew, Joseph P. Kennedy

III, the statement is intended to discredit Dr. Ayyadurai among Republicans by

falsely stating that Dr. Ayyadurai has run email operations for Hillary Clinton. If

anything, unlike Mr. Kennedy, Dr. Ayyadurai has been highly critical of Hillary

Clinton, and has written and spoken extensively about his distaste for Hillary

Clinton. Moreover, Dr. Ayyadurai has been a global leader in exposing the

linkages of Bill Gates, Anthony Fauci, the CDC, the WHO, the government of

China, and Hillary Clinton, documented in videos that have gone viral across the

world.




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      Defamatory Statement # 7: “Shiva, of course, lost the law suit [Ayyadurai v.

      Gawker Media, 2016cv10853 (D-Mass)], but the ruinous costs of the

      litigation helped bankrupt Gawker, which was always Thiel’s purpose.”

32.   This statement is factually false and intended to discredit Dr. Ayyadurai,

damaging him. In fact, Dr. Ayyadurai was victorious in the lawsuit against Gawker

on two counts. First, Dr. Ayyadurai settled with Gawker for $750,000 for falsely

stating that Dr. Ayyadurai had not invented email. Second, Univision - the new

buyer of Gawker – board voted unanimously to remove the three defamatory posts

by Gawker, given the egregious nature of their falsities and libel.

                  Mr. Kennedy’s Defamation Caused Damage

33.   The results of Mr. Kennedy’s defamation were as swift as it was predictable

and, indeed, intended. Since the statements were published on April 28, 2020, Dr.

Ayyadurai has lost thousands of followers on social media, been subjected to

virulent attacks by Mr. Kennedy’s supporters, and suffered loss of business,

donations for his campaign, and political support.

34.   After learning of Mr. Kennedy’s article, Dr. Ayyadurai responded on May 1,

2020, pointed out the errors of his statements, and demanded that Mr. Kennedy

retract and apologize for his statements. Mr. Kennedy never responded.




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35.      In a live-streamed broadcast on May 6, 2020, which ended in a prayer for

Mr. Kennedy, Dr. Ayyadurai renewed his demand and warned that this lawsuit

would proceed unless he did the right thing. Mr. Kennedy did not respond.

36.      Because of Mr. Kennedy’s defamatory statements, Dr. Ayyadurai estimates

that the damages exceed $95 million, which he seeks to recoup through this action.

Dr. Ayyadurai plans to use all of the proceeds from this lawsuit to create ten

integrative health and wellness centers in economically-depressed neighborhoods

across Massachusetts to educate residents on the importance of boosting the

immune system to advance health and well-being.

                                I.    DEFAMATION

37.      Mr. Kennedy made the statements described above to third parties, in the

form of a blog post published on the Children’s Health Defense website. The

statements remain on that website as of shortly before the time this Complaint was

filed.

38.      The statements tend to harm the standing of Dr. Ayyadurai in the community

or to deter others from dealing with him. Indeed, that was the stated purpose of Mr.

Kennedy’s statements.

39.      At the time he published the statements, Mr. Kennedy was aware the

statements were false, easily could have determined the truth, or recklessly made

the statements without regard for their truth or falsity.



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40.   The statements have caused Dr. Ayyadurai economic loss. In addition, the

statements constitute libel and may prejudice Dr. Ayyadurai both in his business

and his campaign for the U.S. Senate. The statements have damaged, and will

continue to damage Dr. Ayyadurai’s reputation by more than $95 million.



                             PRAYER FOR RELIEF

      In view of the facts and violations of law described above, Dr. Ayyadurai

requests the following relief:

          a. Order, grant and enter temporary, preliminary and permanent

             injunctive and equitable relief, and specific performance, and finding

             that the Plaintiff has suffered irreparable harm, has a likelihood of

             success on the merits, that the balance of hardships favors the Plaintiff

             and that it is in the public interest to grant such temporary,

             preliminary and permanent injunctive and equitable relief, and

             specific performance for the benefit of the Plaintiff in the form of

             requiring Mr. Kennedy to remove from public view the article

             discussed in this Complaint and issuing a public retraction of the false

             statements described here;

          b. Determine that Mr. Kennedy is liable for all damages, losses, and

             costs, as alleged here, in an amount of at least $95 million;



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        c. Render a judgment and decision on behalf of Dr. Ayyadurai for

              defamation and issue findings of fact and rulings of law, as necessary

              and appropriate, that Mr. Kennedy is liable, in all respects;

        d. Order, decide, adjudge, and determine that the liability of the

              Defendant, is for all losses, injuries, and damages, special,

              consequential, general, punitive, and/or otherwise, and for all interest

              and costs, as alleged here;

        e. Award Dr. Ayyadurai his costs, including filing fees, costs, expenses

              and interest, for being required to prosecute this action;

        f. Award Dr. Ayyadurai his actual attorneys’ fees, for being required to

              prosecute this action;

        g. Award Dr. Ayyadurai multiple punitive damages in an amount to be

              determined;

        h. Award all other relief that this Court deems just and proper.

        i. A trial by jury.

                                                 Respectfully submitted,



May 8, 2020                                      /s/ Timothy Cornell
Boston, MA                                       Timothy Cornell BBO # 654412
                                                 Cornell Dolan, P.C.
                                                 One International Place, Suite 1400
                                                 Boston, MA 02110


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                                   (617) 535-7763
                                   (617) 535-7650 (fax)
                                   tcornell@cornelldolan.com




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